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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF INDIANA
                              INDIANAPOLIS DIVISION


 In Re: COOK MEDICAL, INC., IVC FILTERS              Case No. 1:14-ml-2570-RLY-TAB
 MARKETING, SALES PRACTICES AND                      MDL No. 2570
 PRODUCTS LIABILITY LITIGATION



 This Document Relates to Plaintiff(s):

 Brian Bazinet - 1:21-cv-06351-RLY-TAB
 Kenneth Doran - 1:20-cv-06208-RLY-TAB
 Antonio Quistian - 1:21-cv-06347-RLY-TAB



                 MOTION TO WITHDRAW ATTORNEY APPEARANCE

         NOW COMES the above-captioned Plaintiffs who respectfully request permission to

withdraw the attorney appearance of Katelyn E. Richardson and for such would show the Court as

follows:

         1.    Plaintiffs were initially represented by both Katelyn E. Richardson and Basil E.

Adham of Johnson Law Group.

         2.    Katelyn E. Richardson has subsequently left the law firm of Johnson Law Group.

         3.    Basil E. Adham and Johnson Law Group continue to represent Plaintiffs in each

respective matter.

         4.    As such, Plaintiffs seek an Order from the Court withdrawing Katelyn E.

Richardson as counsel of record in each respective matter.

         5.    Plaintiffs have approved the withdrawal.

         6.    This withdrawal is not requested for purposes of delay and will not prejudice any

party.
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        WHEREFORE, Plaintiffs pray that this Honorable Court GRANT Plaintiffs’ Motion to

Withdraw Attorney Appearance, removing Katelyn E. Richardson as counsel of record for

Plaintiffs.



DATED: January 31, 2023                         Respectfully Submitted,

                                                /s/ Basil E. Adham
                                                Basil E. Adham (TX Bar No. 2408172)
                                                JOHNSON LAW GROUP
                                                2925 Richmond Ave., Ste. 1700
                                                Houston, TX 77098
                                                Phone: (713) 626-9336
                                                ivc@johnsonlawgroup.com
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                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 31st day of January 2023, I electronically filed the

foregoing with the Clerk of Court using the CM/ECF system, which automatically sends an

electronic notification to all counsel of record and other CM/ECF participants.


DATED: January 31, 2023                             /s/ Basil E. Adham
                                                    Basil E. Adham
